                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                                 No. 3:06-CR-74-4-BR

UNITED STATES OF AMERICA,                        )
                                                 )
              v.                                 )             ORDER
                                                 )
                                                 )
                                                 )
VERNICE CHAITAN WOLTZ                            )




       THIS MATTER is before the Court upon Motion of Donald K. Tisdale, Sr. for Leave Not

to Appear at Sentencing Hearing and for reasons stated in the Motion, the motion is ALLOWED.

       This 3 July 2007.




                                          __________________________________
                                                W. Earl Britt
                                                Senior U.S. District Judge




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